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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

DAIRY CLEAN PRODUCTS, INC.                                §
d/b/a PROXY-CLEAN PRODUCTS,                               §
                                                          §
         Plaintiff,                                       §
                                                          §
v.                                                        §
                                                          §
KANTERS ANIMAL HEALTH, LLC,                               §
KANTERS SPECIAL PRODUCTS B.V.,                            §
KSP HOLDING B.V., and                                     §
ANIMAL HEALTH                                             §
INTERNATIONAL, INC.,                                      §
                                                          §
                  Defendants.                             §
-----------------------------------------------------------   CIVIL ACTION NO. 4:19-cv-00364-ALM
ANIMAL HEALTH                                             §
INTERNATIONAL, INC.,                                      §
                                                          §
         Cross-Claim Plaintiff,                           §
                                                          §
v.                                                        §
                                                          §
KANTERS ANIMAL HEALTH, LLC,                               §
                                                          §
         Cross-Claim Defendant.                           §


                                                    ORDER

        Based upon the parties’ Joint Motion to Amend the Scheduling Order (Dkt. #51), the

Court makes and enters the following Order:

        It is hereby ORDERED that:

        1.       The Motion is GRANTED IN PART and the deadlines of the case are as

        follows:
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                                        DEADLINES


                Event                          Current Deadline          Amended Deadline
Mediation deadline                        July 15, 2020               August 14, 2020
Disclosure of expert testimony            August 12, 2020             September 11, 2020
pursuant to Fed. R. Civ. P. 26(a)(2)
and Local Rule CV-26(b) on issues
for which the party bears the burden
of proof.
Deadline for Plaintiff to file amended    August 26, 2020             September 25, 2020
pleadings. (A motion for leave to
amend is required.)
Disclosure of expert testimony            September 9, 2020           October 9, 2020
pursuant to Fed. R. Civ. P. 26(a)(2)
and Local Rule CV-26(b) on issues
for which the party does not bear the
burden of proof.
Deadline for Defendant’s final            September 9, 2020           October 9, 2020
amended pleadings. (A motion for
leave to amend is required.)
Deadline to object to any other party’s 6 weeks after disclosure of   6 weeks after disclosure of
expert witnesses. Objection shall be    an expert is made             an expert is made
made by a motion to strike or limit
expert testimony and shall be
accompanied by a copy of the
expert’s report in order to provide the
court with all the information
necessary to make a ruling on any
objection.
Deadline for motions to dismiss,        December 2, 2020              January 4, 2021
motions for summary judgment, or
other dispositive motions.
All discovery shall be commenced in       November 18, 2020           December 18, 2020
time to be completed by this date.
Notice of intent to offer certified       April 28, 2021              May 25, 2021
records.
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Counsel and unrepresented parties are April 28, 2021       May 25, 2021
each responsible for contacting
opposing counsel and unrepresented
parties to determine how they will
prepare the Joint Final Pretrial Order
(See www.txed.uscourts.gov) and
Joint Proposed Jury Instructions and
Verdict Form (or Proposed Findings
of Fact and Conclusions of Law in
non-jury cases).
Video Deposition Designation due.      May 4, 2021         June 3, 2021
Each party who proposes to offer a
deposition by video shall serve on all
other parties a disclosure identifying
the line and page numbers to be
offered. All other parties will have
seven calendar days to serve a
response with any objections and
requesting cross-examination line and
page numbers to be included. Counsel
must consult on any objections and
only those which cannot be resolved
shall be presented to the court. The
party who filed the initial Video
Deposition Designation is responsible
for preparation of the final edited
video in accordance with all parties’
designations and the Court’s rulings
on objections.

Motions in limine due. File Joint Final May 6, 2021        June 8, 2021
Pretrial Order. (See
www.txed.uscourts.gov).
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Response to motions in limine due.        May 20, 2021                  June 23, 2021
File objections to witnesses,
deposition extracts, and exhibits,
listed in pre-trial order. (This does not
extend the deadline to object to expert
witnesses) (Provide the exhibit
objected to in the motion or response).
If numerous objections are filed the
court may set a hearing prior to
docket call. File Proposed Jury
Instructions/Form of Verdict (or
Proposed Findings of Fact and
Conclusions of Law).

If numerous objections are filed the      Date will be set by court.    Date will be set by court.
court may set a hearing to consider all   Usually within 10 days        Usually within 10 days
pending motions and objections.           prior to the Final Pretrial   prior to the Final Pretrial
                                          Conference.                   Conference.

Final Pretrial Conference at 9:00 a.m. June 3, 2021                     July 1, 2021
at the Paul Brown United States
Courthouse located at 101 East Pecan
Street in Sherman, Texas. Date parties
should be prepared to try case. All
cases on the Court’s Final Pretrial
Conference docket for this day have
been set at 9:00 a.m. However, prior
to the Final Pretrial Conference date,
the Court will set a specific time
between 9:00 a.m. and 4:00 p.m. for
each case, depending on which cases
remain on the Court’s docket.
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    10:00 a.m. Jury selection and trial at   To be determined       To be determined
    the Paul Brown United States
    Courthouse located at 101 East Pecan
    Street in Sherman, Texas. Cases that
    remain for trial following the Court’s
    Pretrial docket will be tried between
    August 2, 2021, and September 3,
    2021. A specific trial date in this
    time frame will be selected at the
.   Final Pretrial Conference.




      SIGNED this 14th day of July, 2020.




                                  ___________________________________
                                  AMOS L. MAZZANT
                                  UNITED STATES DISTRICT JUDGE
